        Case 1:07-cr-00156-LJO Document 146 Filed 04/24/08 Page 1 of 1


 1
 2                              IN THE UNITED STATES DISTRICT COURT
 3                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 4
 5   UNITED STATES OF AMERICA,                                CASE NO. CR F 07-0156 LJO
 6                            Plaintiff,                      ORDER TO FRESNO COUNTY JAIL FOR
                                                              DENTAL EVALUATION;
 7            vs.                                             VACATE HEARING SET FOR APRIL
                                                              24, 2008.
 8   PORCHA NEAL,
 9                            Defendant.
                                                  /
10
11            TO THE FRESNO COUNTY JAIL:
12            This Court ORDERS the Fresno County Jail to arrange for Federal defendant Porcha Neal to
13   have a dental evaluation to be conducted by a dentist or dental office of the choosing of the Fresno
14   County Jail. The purpose of the evaluation is to determine whether or not the defendant’s dental needs
15   fall within the guidelines of the United States Marshal. (See guidelines, attached hereto for reference
16   only).    By motion, the defendant has advised the Court that she has need for a root canal. County Jail
17   has confirmed that they are willing to extract the tooth, but do not provide root canal procedures. A
18   parent of the defendant has offered to pay in advance for the dental procedure (root canal) with a private
19   dentist (who has provided assurance that the root canal is needed to save the tooth), as well as paying
20   in advance for the transportation/security costs. In keeping with the requirements of the U.S. Marshal,
21   an independent dental determination must be made for the need and to address the aforementioned issue.
22            The current hearing set for April 24, 2008 is vacated, pending receipt of the report from the
23   dentist chosen by the Fresno County Jail.
24
25            IT IS SO ORDERED.
26   Dated:         April 23, 2008                        /s/ Lawrence J. O'Neill
     b9ed48                                           UNITED STATES DISTRICT JUDGE
27
28

                                                          1
